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 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Kristin Zilberstein (SBN: 200041)
 Jennifer R. Bergh (SBN: 305219)
 The Law Offices of Michelle Ghidotti
 1920 Old Tustin Ave.
 Santa Ana, CA 92705
 Tel: (949) 427-2010
 Fax: (949) 427-2732
 Email: kzilberstein@ghidottilaw.com




     Movant appearing without an attorney
     Attorney for Movant

                                          UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA - SANTA   DIVISION
                                                                     Name ofANA  DIVISION

 In re:                                                                    CASE NO.: 8:17-bk-11859-ES
  Peter P. Tamarat and Daungrudee Tamarat                                  CHAPTER: 13

                                                                                    NOTICE OF MOTION AND MOTION
                                                                                   FOR RELIEF FROM THE AUTOMATIC
                                                                                      STAY UNDER 11 U.S.C. § 362
                                                                                     (with supporting declarations)
                                                                                           (REAL PROPERTY)

                                                                           DATE: 11/15/2018
                                                                           TIME: 10:00AM

                                                             Debtor(s).    COURTROOM: 5A

 Movant: U.S. Bank Trust N.A., as Trustee of the SCIG Series III Trust, its succesors and assigns



1. Hearing Location:
        255 East Temple Street, Los Angeles, CA 90012                                   411 West Fourth Street, Santa Ana, CA 92701
        21041 Burbank Boulevard, Woodland Hills, CA 91367                               1415 State Street, Santa Barbara, CA 93101
        3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.


        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)     and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: 10/08/2018                                                             The Law Offices of Michelle Ghidotti
                                                                                  Printed name of law firm (if applicable)

                                                                                  Kristin Zilberstein, Esq.
                                                                                  Printed name of individual Movant or attorney for Movant



                                                                                  /S/ Kristin Zilberstein
                                                                                  _____________________________________________
                                                                                  Signature of individual Movant or attorney for Movant




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              MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY
1. Movant is the:
         X Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee under
           the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.
         X Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
           mortgage or deed of trust) or (2) is the assignee of the beneficiary.
           Servicing agent authorized to act on behalf of the Holder or Beneficiary.
           Other (specify):


2. The Property at Issue (Property):

    a. Address:

          Street address: 8190 Peppertree Ln.
          Unit/suite number:
          City, state, zip code: Cypress, CA 90630

    b. Legal description, or document recording number (including county of recording), as set forth in Movant’s deed of
       trust (attached as Exhibit A   ):

3. Bankruptcy Case History:

    a. A     voluntary     involuntary bankruptcy petition under chapter                            7       11        12       13
       was filed on (date) 05/09/2017 .

    b.          An order to convert this case to chapter                7       11       12        13 was entered on (date)                    .
    c.          A plan, if any, was confirmed on (date) 11/21/2017 .

4. Grounds for Relief from Stay:

    a.          Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
          (1)         Movant’s interest in the Property is not adequately protected.
                (A)       Movant’s interest in the Property is not protected by an adequate equity cushion.
                (B)       The fair market value of the Property is declining and payments are not being made to Movant
                          sufficient to protect Movant’s interest against that decline.
                (C)       Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s
                          obligation to insure the collateral under the terms of Movant’s contract with the Debtor.
          (2)         The bankruptcy case was filed in bad faith.
                (A)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                          commencement documents.
                (B)       The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.
                (C)       A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                          filing this bankruptcy case.
                (D)       Other bankruptcy cases have been filed in which an interest in the Property was asserted.
                (E)       The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                          and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.
                (F)       Other (see attached continuation page).


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          (3)         (Chapter 12 or 13 cases only)
                (A)       All payments on account of the Property are being made through the plan.
                              Preconfirmation      Postconfirmation plan payments have not been made to the chapter 12
                          trustee or chapter 13 trustee.

                (B)       Postpetition mortgage payments due on the note secured by a deed of trust on the Property have not
                          been made to Movant.
          (4)         The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the Property.

          (5)         The Movant regained possession of the Property on (date)                                   ,
                      which is    prepetition   postpetition.

          (6)         For other cause for relief from stay, see attached continuation page.

     b.         Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to
                § 362(d)(2)(B), the Property is not necessary to an effective reorganization.

     c.         Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for relief or
                30 days after the court determined that the Property qualifies as “single asset real estate” as defined in
                11 U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly payments.

     d.         Pursuant to 11 U.S.C. § 362(d)(4), the Debtor’s filing of the bankruptcy petition was part of a scheme to delay,
                hinder, or defraud creditors that involved:
          (1)         The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                      court approval; or
          (2)         Multiple bankruptcy cases affecting the Property.

5.        Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

     a.         These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
                been entitled to relief from the stay to proceed with these actions.

     b.         Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit _____.

     c.         Other (specify):



6. Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to this
   motion)
     a. The REAL PROPERTY DECLARATION on page 6 of this motion.
     b.         Supplemental declaration(s).
     c.         The statements made by Debtor under penalty of perjury concerning Movant’s claims and the Property as set
                forth in Debtor’s case commencement documents. Authenticated copies of the relevant portions of the case
                commencement documents are attached as Exhibit D        .
     d.         Other:



7.        An optional Memorandum of Points and Authorities is attached to this motion.




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Movant requests the following relief:

1. Relief from the stay is granted under:                11 U.S.C. § 362(d)(1)             11 U.S.C. § 362(d)(2)             11 U.S.C. § 362(d)(3).

2.       Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
         remedies to foreclose upon and obtain possession of the Property.

3.       Movant, or its agents, may, at its option, offer, provide and enter into a potential forebearance agreement, loan
         modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
         servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.

4.       Confirmation that there is no stay in effect.

5.       The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
         enforce its remedies regarding the Property shall not constitute a violation of the stay.

6.       The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
         the same terms and conditions as to the Debtor.

7.       The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

8.       A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
         of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing on this Motion:
             without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
             compliance with applicable nonbankruptcy law.

9.       Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
         governing notices of interests or liens in real property, the order is binding in any other case under this title
         purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
         except that a debtor in a subsequent case under this title may move for relief from the order based upon changed
         circumstances or for good cause shown, after notice and hearing.

10.      The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
         interest in the Property for a period of 180 days from the hearing of this Motion:
              without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
              compliance with applicable nonbankruptcy law.

11.      The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:
              without further notice, or  upon recording of a copy of this order or giving appropriate notice of its entry in
              compliance with applicable nonbankruptcy law.

12.      Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
         Code § 2920.5(c)(2)(C).
13.      If relief from stay is not granted, adequate protection shall be ordered.

14.      See attached continuation page for other relief requested.

      Date: 10/08/2018                                                            The Law Offices of Michelle Ghidotti
                                                                                 Printed name of law firm (if applicable)
                                                                                 Kristin Zilberstein
                                                                                 Printed name of individual Movant or attorney for Movant
                                                                                 /S/ Kristin Zilberstein
                                                                                 Signature of individual Movant or attorney for Movant


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                                                 REAL PROPERTY DECLARATION

I, (print name of Declarant) Michael J. Egan                                                                                    , declare:


1. I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
   competently testify thereto. I am over 18 years of age. I have knowledge regarding Movant’s interest in the real
   property that is the subject of this Motion (Property) because (specify):

    a.         I am the Movant.

    b.         I am employed by Movant as (state title and capacity):


    c.         Other (specify): Employed by SN Servicing, Servicing Agent, for Movant as Bankruptcy Asset Manager.

2. a.          I am one of the custodians of the books, records and files of Movant that pertain to loans and extensions of
               credit given to Debtor concerning the Property. I have personally worked on the books, records and files, and
               as to the following facts, I know them to be true of my own knowledge or I have gained knowledge of them
               from the business records of Movant on behalf of Movant. These books, records and files were made at or
               about the time of the events recorded, and which are maintained in the ordinary course of Movant’s business
               at or near the time of the actions, conditions or events to which they relate. Any such document was
               prepared in the ordinary course of business of Movant by a person who had personal knowledge of the event
               being recorded and had or has a business duty to record accurately such event. The business records are
               available for inspection and copies can be submitted to the court if required.

    b.         Other (see attached):


3. The Movant is:

    a.         Holder: Movant has physical possession of a promissory note that (1) names Movant as the payee under the
               promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer. A true and correct
               copy of the note, with affixed allonges/indorsements, is attached as Exhibit B     .
    b.         Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property
               (e.g.,mortgage or deed of trust) or (2) is the assignee of the beneficiary. True and correct copies of the
               recorded security instrument and assignments are attached as Exhibit A         .
    c.         Servicing agent authorized to act on behalf of the:
                    Holder.
                    Beneficiary.
    d.         Other (specify):

4. a.       The address of the Property is:
            Street address: 8190 Peppertree Ln.
            Unit/suite no.:
            City, state, zip code: Cypress, CA 90630

    b. The legal description of the Property or document recording number (including county of recording) set forth in the
       Movant’s deed of trust is:
       Recorded in the Official Records of Orange County, California, as Document No.: 2008-000267771.




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5. Type of property (check all applicable boxes):

     a.          Debtor’s principal residence                                b.            Other residence
     c.          Multi-unit residential                                      d.            Commercial
     e.          Industrial                                                  f.            Vacant land
     g.          Other (specify):

6. Nature of the Debtor’s interest in the Property:

    a.         Sole owner
    b.         Co-owner(s) (specify): Peter Tamarat and Dee Tamarat, husband and wife.
    c.         Lienholder (specify):
    d.         Other (specify):
    e.         The Debtor           did       did not list the Property in the Debtor’s schedules.
    f.         The Debtor acquired the interest in the Property by                        grant deed       quitclaim deed          trust deed.
               The deed was recorded on (date)                               .

7. Movant holds a      deed of trust                   judgment lien              other (specify)
   that encumbers the Property.
    a.         A true and correct copy of the document as recorded is attached as Exhibit A                            .
    b.         A true and correct copy of the promissory note or other document that evidences the Movant’s claim is
               attached as Exhibit B     .
    c.         A true and correct copy of the assignment(s) transferring the beneficial interest under the note and deed of
               trust to Movant is attached as Exhibit C   .                      *includes $103,412.46 in arrearage principal, $102,876.65 in
                                                                                                    arrearage interest, $150.46 prior corporate advance, and
8. Amount of Movant’s claim with respect to the Property:                                           arrearage escrow in the amount of $23,720.17.

                                                                              PREPETITION                POSTPETITION                  TOTAL
    a.      Principal:                                                      $ 428,807.92                $ 428,807.92             $ 428,807.92
    b.      Accrued interest:                                               $ 5216.50                   $ 5216.50                $ 5216.50
    c.      Late charges                                                    $ 323.22                    $ 323.22                 $ 323.22
    d.      Costs (attorney’s fees, foreclosure fees, other
            costs):                                                         $                           $                        $
    e.      Advances (property taxes, insurance):                           $ 1,865.84                  $ 1,865.84               $ 1,865.84
    f.      Less suspense account or partial balance paid:                  $[                      ]   $[                   ]   $[                     ]
    g.      TOTAL CLAIM as of (date):           10/08/2018                  $ 648,827.01                $ 648,827.01             $ 648,827.01
    h.          Loan is all due and payable because it matured on (date)

9. Status of Movant’s foreclosure actions relating to the Property (fill the date or check the box confirming no such action
   has occurred):
    a. Notice of default recorded on (date)                                 or         none recorded.
    b. Notice of sale recorded on (date)                               or        none recorded.
    c.    Foreclosure sale originally scheduled for (date)                                  or   none scheduled.
    d. Foreclosure sale currently scheduled for (date)                                     or    none scheduled.
    e. Foreclosure sale already held on (date)                                    or      none held.
    f.    Trustee’s deed upon sale already recorded on (date)                                    or      none recorded.



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10. Attached (optional) as Exhibit       is a true and correct copy of a POSTPETITION statement of account that
    accurately reflects the dates and amounts of all charges assessed to and payments made by the Debtor since the
    bankruptcy petition date.

11.          (chapter 7 and 11 cases only) Status of Movant’s loan:
      a. Amount of current monthly payment as of the date of this declaration: $                                                    for the month of
                         20 .
      b. Number of payments that have come due and were not made:                                  . Total amount: $
      c.     Future payments due by time of anticipated hearing date (if applicable):
             An additional payment of $                          will come due on (date)              , and on the         day
             of each month thereafter. If the payment is not received within       days of said due date, a late charge of
             $                        will be charged to the loan.

      d. The fair market value of the Property is $                                          , established by:
             (1)       An appraiser’s declaration with appraisal is attached as Exhibit                       .
             (2)       A real estate broker or other expert’s declaration regarding value is attached as Exhibit                             .
             (3)       A true and correct copy of relevant portion(s) of the Debtor’s schedules is attached as Exhibit                             .
             (4)       Other (specify):


      e. Calculation of equity/equity cushion in Property:

             Based upon      a preliminary title report    the Debtor’s admissions in the schedules filed in this case, the
             Property is subject to the following deed(s) of trust or lien(s) in the amounts specified securing the debt against
             the Property:
                                                                                         Amount as Scheduled               Amount known to
                                                   Name of Holder
                                                                                           by Debtor (if any)            Declarant and Source
           1st deed of trust:                                                            $                               $
           2nd deed of trust:                                                            $                               $
           3rd deed of trust:                                                            $                               $
           Judgment liens:                                                               $                               $
           Taxes:                                                                        $                               $
           Other:                                                                        $                               $
           TOTAL DEBT: $

      f.     Evidence establishing the existence of these deed(s) of trust and lien(s) is attached as Exhibit                                and
             consists of:
             (1)       Preliminary title report.
             (2)       Relevant portions of the Debtor’s schedules.
             (3)       Other (specify):

      g.           11 U.S.C. § 362(d)(1) - Equity Cushion:
                   I calculate that the value of the “equity cushion” in the Property exceeding Movant’s debt and any lien(s)
                   senior to Movant’s debt is $                                          and is        % of the fair market value
                   of the Property.

      h.           11 U.S.C. § 362(d)(2)(A) - Equity:
                   By subtracting the total amount of all liens on the Property from the value of the Property as set forth in
                   Paragraph 11(e) above, I calculate that the Debtor’s equity in the Property is $                                                    .



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      i.        Estimated costs of sale: $                                     (estimate based upon                     % of estimated gross sales
                price)
      j.        The fair market value of the Property is declining because:



12.        (Chapter 12 and 13 cases only) Status of Movant’s loan and other bankruptcy case information:
      a. A 341(a) meeting of creditors is currently scheduled for (or concluded on) the following date: 06/20/2017                                  .
         A plan confirmation hearing currently scheduled for (or concluded on) the following date: 11/21/2017 .
         A plan was confirmed on the following date (if applicable): 11/21/2017 .
      b. Postpetition preconfirmation payments due BUT REMAINING UNPAID since the filing of the case:
             Number of         Number of          Amount of Each Payment
                                                                                                 Total
             Payments         Late Charges           or Late Charge
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
           (See attachment for additional breakdown of information attached as Exhibit ______.)
      c.   Postpetition postconfirmation payments due BUT REMAINING UNPAID since the filing of the case:
             Number of         Number of          Amount of each Payment
                                                                                                 Total
             Payments         Late Charges             or Late Charge
                3                                 $ 3132.39                           $ 9397.77
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
      d. Postpetition advances or other charges due but unpaid:                                              $
         (For details of type and amount, see Exhibit E   )
      e. Attorneys’ fees and costs:                                                                          $ 1,081.00
         (For details of type and amount, see Exhibit _____)
      f.   Less suspense account or partial paid balance:                                                    $[                                 ]
                                TOTAL POSTPETITION DELINQUENCY:                                              $ 10478.77
      g. Future payments due by time of anticipated hearing date (if applicable): 1         .
         An additional payment of $ 3,132.39                will come due on 11/01/2018 , and on
         the 1      day of each month thereafter. If the payment is not received by the    day of the month, a late
         charge of $                   will be charged to the loan.

      h. Amount and date of the last 3 postpetition payments received from the Debtor in good funds, regardless of how
         applied (if applicable):
          $ 3,964.16                    received on (date) 09/10/2018
          $ 3,876.66                    received on (date) 07/23/2019
          $ 3,781.66                    received on (date) 06/18/2018
      i.      The entire claim is provided for in the chapter 12 or 13 plan and postpetition plan payments are delinquent.
              A plan payment history is attached as Exhibit         . See attached declaration(s) of chapter 12 trustee or
              13 trustee regarding receipt of payments under the plan (attach LBR form F 4001-1.DEC.AGENT.TRUSTEE).
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13.        Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s obligation to
           insure the collateral under the terms of Movant’s contract with the Debtor.

14.        The court determined on (date)                  that the Property qualifies as “single asset real estate” as defined in
           11 U.S.C. § 101(51B). More than 90 days have passed since the filing of the bankruptcy petition; more than 30
           days have passed since the court determined that the Property qualifies as single asset real estate; the Debtor
           has not filed a plan of reorganization that has a reasonable possibility of being confirmed within a reasonable
           time; or the Debtor has not commenced monthly payments to Movant as required by 11 U.S.C. § 362(d)(3).

15.        The Debtor’s intent is to surrender the Property. A true and correct copy of the Debtor’s statement of intentions is
           attached as Exhibit           .

16.        Movant regained possession of the Property on (date)                                   , which is        prepetition         postpetition.

17.        The bankruptcy case was filed in bad faith:

      a.        Movant is the only creditor or one of few creditors listed in the Debtor’s case commencement documents.

      b.        Other bankruptcy cases have been filed in which an interest in the Property was asserted.

      c.        The Debtor filed only a few case commencement documents. Schedules and a statement of financial affairs
                (or chapter 13 plan, if appropriate) have not been filed.

      d.        Other (specify):




18.        The filing of the bankruptcy petition was part of a scheme to delay, hinder, or defraud creditors that involved:
           a.         The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                      court approval. See attached continuation page for facts establishing the scheme.
           b.         Multiple bankruptcy cases affecting the Property include:
                1. Case name:
                   Chapter:            Case number:
                   Date dismissed:                    Date discharged:                Date filed:
                   Relief from stay regarding the Property    was      was not granted.

                2. Case name:
                   Chapter:            Case number:
                   Date dismissed:                    Date discharged:                Date filed:
                   Relief from stay regarding the Property    was      was not granted.

                3. Case name:
                   Chapter:            Case number:
                   Date dismissed:                    Date discharged:               Date filed:
                   Relief from stay regarding the Property     was     was not granted.

                See attached continuation page for information about other bankruptcy cases affecting the Property.
                See attached continuation page for facts establishing that the multiple bankruptcy cases were part of a
                scheme to delay, hinder, or defraud creditors.




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1920 Old Tustin Ave.
Santa Ana CA 92705

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (REAL PROPERTY) will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 10/24/2018 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Debtor Counsel: Christopher J Langley chris@langleylegal.com, omar@langleylegal.com;
langleycr75251@notify.bestcase.com
Trustee: Amrane (SA) Cohen (TR) efile@ch13ac.com
US Trustee: United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov


                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 10/24/2018 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Judge: Honorable Erithe A Smith 411 West Fourth Street, Suite 5040 Santa Ana, CA 92701-4593 (US Mail)
Debtor: Peter P. Tamarat 8190 Peppertree Lane Cypress, CA 90630 ( US Mail)
Joint Debtor: Daungrudee Tamarat 8190 Peppertree Lane Cypress, CA 90630 (US Mail)



                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                           Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 10/24/2018                             Krystle Miller                               /s/ Krystle Miller
 Date                          Printed Name                                                  Signature


        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                REDACTED
USB   Barcode                          USB Document Sak:                                REDACTED     USB Loan   ld: REDACTED

                 REDACTED
 USBAccount:

 USB   Pool:

 Name:      PETERTAMARAT


 Document   Type:   SECI - SECI- SECURITY INSTRUMENT



 Document   Notation:   WACHOVIA MTG
  Casen Ii-:i itilli,li"r i:, i-0lJis i-{fl i:;y
        8:17-bk-11859-ES                         Doc 56 Filed 10/24/18 Entered 10/24/18 16:07:03 Desc
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               L i; j,,1,i,1                     Main Document This
                                                                  Page 15 of 44 was electronically recorded by
                                                                     Document
                                                                                 Ticor Tustin
RECORDING REQUESTED BY:
WACHOVIA MORTGAGE, FSB                                   Recorded in Official Records, Orange County
                                                         Tom Daly, Clerk-Recorder

WHEN RECORDED MAIL TO:
                                                            rtrrn.ril,..,j,.d,,riil                57.00
WACHOVIA MORTGAGE, FSB
                                                                                  20080002 6777 1 02              06/04/08
FINAL DOCUMENTATION                                      REDACTED
CLOSING DEPARTMENT
P.O. BOX 659548
sAN ANTONIO, TX 78265-9548
                                                                        Received
                     REDACTED
&*x**ilulr8Eft
                                                                     JUN         t ? 2000
NOTE AMOUNT: $539,000.00
                                                                                 *r r'''
     REDACTED                                                 Records lV1amag,u,
                                                                  FOR RECORDER'S USE ONLY

                                           DEED OF TRUST
      THIS !S A FIRST DEED OF TRUST WHICH SECURES A NOTE WHICH CONTAINS
      PROVISIONS ALLOWING FOR CHANGES IN MY TNTEREST RATE, FREQUENCY AND
      AMOUNT OF PAYMENTS AND PRINCIPAL BALANCE (|NCLUDING FUTURE ADVANCES
      AND DEFERRED INTEREST). AT LENDER'S OPTION THE SECURED NOTE MAY BE
      RENEWED OR RENEGOTIATED. THE SECURED NOTE PROVIDES FOR MONTHLY
      PAYMENTS OF PRINCIPAL AND INTEREST.

      THE MAXIMUM AGGREGATE PRINCIPAL BALANCE SECURED BY THIS DEED OF TRUST IS
      $673,750.00 WHICH IS 125% OF THE ORIGINAL PRINCTPAL NOTE AMOUNT.




1.        DEFINITIONS OF WORDS USED lN THIS DEED OF TRUST
          (A) Security   lnstrument. This Deed of Trust, which is dated May 29, 2008, will be called the
"Security Instrument."

          (B)    Borrower. PETER TAMARAT AND DEE TAMARAT, HUSBAND AND WIFE sometimes will
be called "Borrower" and sometimes simply "1" or "me."




        (C) LENdEr. WACHOVIA MORTGAGE, FSB, ITS SUCCESSORS AND/OR ASSIGNEES, wiII be
called "Lender." Lender is a FEDERAL SAVINGS BANK, which is organized and exists under the laws of
the United States. Lender's address is 4101 Wiseman Blvd., San Antonio,TX78251                 .




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DEFERRED INTEREST                             Page   1
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         (D) Note. The note signed by Bonower and having the same date as this Security lnstrument,
including all extensions, renewals, substitutions and modifications thereof, will be called the "Note." The Note
shows that I owe Lender the original principal amount of U.S. $539,000.00, plus accrued and deferred
interest and such other amounts as stated in the Note. I have promised to pay this debt in regularly
scheduled periodic payments as provided in the Note and to pay the debt in full by June 15, 2038 ("Maturity
Date").
           (E) Property. The property that is described below in Section lll entitled          "Description   of   the
Property" will be called the "Property,"

           (F) Sums Secured. The amounts      described below in Section        ll entitled "Borroweds   Transfer of
Rights in the Property" sometimes will be called the "Sums Secured."

           (G)    Person. Any person, organization, governmental authority or other party will be called "Person,"


           (H) Trustor, Beneficiary, Trustee. Borrower is the "Trustor," Lender is the
                                                                                     "Beneficiary" and
  Golden West Savings Association Service Co., A California Corporation is the "Trustee."



I!.     BORROWER'S TRANSFER OF RTGHTS IN THE PROPERry
        I irrevocably grant and convey the Property to the Trustee, in trust for Lender, with a power of sale
subject to the terms of this Security lnstrument. This means that, by signing this Security lnstrument, I am
giving Lender and Trustee those rights that are stated in this Security lnstrument and also those rights that
the law gives to lenders who are beneficia ries of a deed of trust and to trustees of a deed of trust. I am giving
Lender and Trustee these rights to protect Lender from possible losses that might result if I fail to:


              (i)pay all amounts owed to Lender under the Note and all other notes secured by this Security
lnstrument, called the "Secured Notes," including future advances made by Lender and any changes to the
Secured Notes made with the written consent of Lender;

              (iDpay, with interest, any amounts that Lender spends under Paragraphs 2 and 7 below to
protect the value of the Property and Lender's rights in the Property; and

             (iii)
               keep all of my other promises and agreements under this Security lnstrument, the Secured
Notes and any changes to the Secured Notes made with the written consent of Lender.


III.      DESCRIPTION OF THE PROPERTY
          I give Trustee rights in the Property described below:

            (i)The Propertywhich is located at 8190 PEPPERTREE LN, CYPRESS, CA 90630-2071.The
legal description of the Property is attached as Exhibit "A" which is made a part of this Security lnstrument.
This Property is called the "Described Property."

            (iD      All buildings and other improvements that are located on the Described Property;




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         (iiD All rights in other property that I have as owner of the Described Property. These rights are
known as easements, rights and appurtenances attached to the Property;

             (iv) All rents or royalties and other income from the Described Property;
             (v) All mineral, oil and gas rights and profits, water rights and stock that are part of the
Described Property;

            (vi) All rights that I have in the land which lies in the streets or roads in front of, behind or next
to, the Described Property;

         (vii) All fixtures that are now or in the future will be on the Described Property or on the property
described in subsection (ii) of this Section;

         (viii) All of the rights and property described in subsections (ii) through (vii) of this Section that   I

acquire in the future;

            (ix) All replacements of or additions to the property described in subsections (ii) through (viii) of
this Section; and

             (x)     All of the amounts that I pay to Lender under Paragraph 2 below.


IV.     BORROWER'S RIGHT TO GRANT A SECURITY INTEREST IN THE PROPERTY AND
        BORROWER'S OBLIGATION TO DEFEND OWNERSHIP OF THE PROPERTY
        I promise that: (i) I lawfully own the Property; (ii) I have the right to grant and convey the Property to
Trustee; and (iii) there are no outstanding claims, charges, liens or encumbrances against the Property,
except for those which are of public record.

       lgive a generalwarranty of title to Lender. This means that lwill be fully responsible for any losses
which Lender suffers because someone other than myself and the Trustee has some of the rights in the
Property which I promise that I have. I promise that I will defend my ownership of the Property against any
claims of such rights.

                                                   COVENANTS


I promise and I agree with Lender as follows:

1.        BORROWER'S PROMISE TO PAY
          I will pay to Lender, on time, all principal and interest due under the Secured Notes and any
prepayment and late charges due underthe Secured Notes.


2.        PAYMENTS FOR TAXES AND INSURANCE
          (A)  Borrower's Obligations
               I will pay all amounts necessary to pay taxes and hazard insurance premiums on the
Property as well as assessments, leasehold payments, ground rents or mortgage insurance premiums (if
any).




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           (B)       Escrow Accounts

                  Subject to applicable law, no escrow shall be required except upon written demand by
Lender, in which case, I shall pay to Lender on the day payments are due under the Note, until the Note is
paid in full, a sum ("Funds") for: (a) yearly taxes, penalties and assessments which may attain priority over
this Security lnstrument as a lien on the Property; (b) yearly leasehold payments or ground rents on the
Property, if any; (c) yearly hazard or property insurance premiums; (d) yearly flood insurance premiums, if
any; and (e) yearly mortgage insurance premiums, if any. These items are called "Escrow ltems." Lender
may, at any time, collect and hold Funds in an amount not to exceed the maximum amount a lender for a
federally related mortgage loan may require for an escrow account under the federal Real Estate Setflement
Procedures Act of 1974 as amended from time to time, 12 U.S.C. S 2601 et seq. ('RESPA'), unless another
law that applies to the Funds sets a lesser amount. lf so, Lender may, at any time, collect and hold Funds in
an amount not to exceed the lesser amount. Lender may estimate the amount of Funds due on the basis of
current data and reasonable estimates of expenditures of future Escrow ltems in accordance with applicable
law.


                 The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is such an institution) or in any Federal Home Loan
Bank. Lender shall apply the Funds to pay the Escrow ltems. Lender may not charge me for holding and
applying the Funds, annually analyzing the escrow account, or verifying the Escrow ltems, unless Lender
pays me interest on the Funds and/or applicable law permits Lender to make such a charge. However,
Lender may require me to pay a one-time charge for an independent real estate tax reporting service used
by Lender in connection with this loan, unless applicable law provides othenrvise. Unless an agreement is
made or applicable law requires interest to be paid, Lender shall not be required to pay me any interest or
earnings on the Funds. Lender shallgive to me, without charge, an annualaccounting of the Funds, showing
credits and debits to the Funds and the purpose for which each debit to the Funds was made. The Funds are
pledged as additional security for all sums secured by this Security lnstrument.


                lf the Funds held by Lender exceed the amounts permitted to be held by applicable law,
Lender shall account to me for the excess Funds in accordance with the requirements of applicable law. lf
the amount of the Funds held by Lender at any time is not sufficient to pay the Escrow ltems when due,
Lender may so notifu me in writing, and, in such case I shall pay to Lenderthe amount necessary to make up
the deficiency or shortage. I shall make up the deficiency or shortage in accordance with the requirements of
the Lender, at its sole discretion, in the mannerand times prescribed by RESPA.


                 Upon payment in full of all sums secured by this Security lnstrument, Lender shall prompily
refund to me any Funds held by Lender. lf, under Paragraph 28, Lender shall acquire or sell the Property,
Lender, prior to the acquisition or sale of the Property, shall apply any Funds held by Lender at the time of
acquisition or sale as a credit against the sums secured by this Security lnstrument.




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  3.   APPLICATION OF BORROWER'S PAYMENTS
       Unless applicable law requires otherwise, Lender will apply each of my payments under the Secured
Notes and under Paragraphs 1 and 2 above in the following order and forthe following purposes:

             First, to pay prepayment charges due under the Secured Notes;

             Second, to pay any advances due to Lender under this Security lnstrument;

            Third, to pay the amounts due to Lender under Paragraph 2 above;

             Fourth, to pay interest due underthe Secured Notes;

             Fifih, to pay deferred interest due under the Secured Notes;

            Sixth, to pay principaldue underthe Secured Notes;

            Last, to pay late charges due under the Secured Notes.

4.      BORROWER'S OBLIGATION TO PAY CHARGES, ASSESSMENTS AND CLAIMS
        I will pay all taxes, assessments and any other charges and fines that may be imposed on the
Property and that may be superior to this Security lnstrument,

          I will also make payments due under my lease if I am a tenant on the Property and I will pay ground
rents (if any) due on the Property. I will pay these amounts either by making the payments to Lender that are
described in Paragraph 2 above or by making the payments on time to the Person owed them.

          Any claim, demand or charge that is made against property because an obligation has not been
fulfilled is known as a !ien. I will promptly pay or satisfy all liens against the Property that may be superior to
this Security lnstrument. However, this Security lnstrument does not require me to satisfy a superior lien if:
(A) I agree, in writing, to pay the obligation which gave rise to the superior lien and Lender approves in
writing the way in which I agree to pay that obligation; or (B) in good faith, I argue or defend against the
superior lien in a lawsuit so that, during the lawsuit, the superior lien may not be enforced and no part of the
Property must be given up; or (C) I secure from the holder of that other lien an agreement, approved In
writing by Lender, that the lien of this Security lnstrument is superiorto the lien held by that Person. lf Lender
determines that any part of the Property is subject to a superior lien, Lender may give to me a notice
identilTing the superior lien. I will pay or satisfo the superior lien or take one or more of the actions set forth
above within 10 days of the giving of notice.

5.       BORROWER'S OBLIGATION TO MAINTAIN INSURANCE
         At my sole cost and expense, I will obtain and maintain hazard insurance to cover all buildings and
other improvements that now are or in the future will be located on the Property. The insurance must cover
loss or damage caused by fire, hazards normally covered by "eXended coverage" hazard insurance policies
and other hazards for which Lender requires coverage. The insurance must be in the amounts and for the
periods of time required by Lender. I may choose the insurance company but my choice is subject to
Lendefs approval. Lender may not refuse to approve my choice unless the refusal is reasonable. Allof these
insurance policies and renewals of the policies must include what is known as a Standard Mortgagee
Clause to protect Lender. The form of all policies and renewals must be acceptable to Lender. Lender will
have the right to hold the policies and renewals. lf Lender requires, I will promptly give Lender all receipts of
paid premiums and renewal notices that I receive.




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         lf I obtain earthquake insurance, any other hazard insurance, credit life and/or disability insurance, or
 any other insurance on or relating to the Property or the Secured Notes and which are not specifically
 required by Lender, I will name Lender as loss payee of any proceeds.

         lf there is a loss or damage to the Property, I will promptly notify the proper insurance company and
 Lender. lf I do not promptly prove to the insurance company that the loss or damage occurred, then Lender
 may do so.

         The amount paid by the insurance company is called "Proceeds." Any Proceeds received will be
applied first to reimburse Lender for costs and expenses incuned in connection with obtaining the proceeds,
and then, at Lender's option and in the order and proportion as Lender may determine -in its sole and
absolute discretion, regardless of any impairment or lack of impairment of seiurity, as follows: (A) to the
extent allowed by applicable law, to the Sums Secured in a manner that Lender determines and/or (a1 to tne
payment of costs and expenses of necessary repairs or to the restoration of the Property to a condition
satisfactory to Lender, such application to be made in the manner and at the times as determined by Lender.

         lf I abandon the Property or if I do not answer, within 30 days, a notice from Lender or the insurance
company stating that the insurance company has offered to settle a claim, Lender may collect the proceeds.
I will notiff Lender immediately of any offer to settle a claim I receive from the insurance company. I will
immediately deliver any Proceeds I receive from any insurer or other persons to Lender. Lender niay use tfre
Proceeds to repair or restore the Property or to pay the Sums Secured. The 30-day period will begin when
the notice is given.

        lf any Proceeds are used to reduce the amount of the outstanding balance of the Sums Secured,
that use will not delay the due date or change the amount of any of my regularly scheduled payments under
the Secured Notes and under Paragraphs 1 and 2 above. However, Lender and I may agree in writing to
delays or changes.

         lf Lender acquires the Property under Paragraph 28 below, all of my rights in the insurance policies
will belong to Lender. Also, all of my rights in any Proceeds which are paid because of damage that occurred
before the Property is acquired by Lender or sold will belong to Lender. However, Lender's rights in those
Proceeds will not be greater than the total amount of the Sums Secured immediately before the property is
acquired by Lender or sold.

        lf I am required by Lender to pay premiums for mortgage insurance, I will pay the premiums until the
requirement for mortgage insurance ends according to my written agreement with Lender or according to
law.


6.       BORROWER'S OBLIGATION TO MATNTAIN THE PROPERry AND TO FULFILL ANY LEASE
         OBLIGATIONS
         I will keep the Property in good repair including, but not limited to, keeping the property free from
debris, mold, termites, dry rot and other damaging pests and infestations. I will not destroy or substantially
change the Property and I will not allow the Property to deteriorate. I will keep and maintain the property in
compliance with any state or federal health and safety laws, and hazardous materials and hazardous waste
laws. I will not use, generate, manufacture or store any hazardous materials or hazardous waste on, under or
about the Property. I will indemnifu, defend and hold harmless Lender and its employees, officers and
directors and their successors from any claims, damages or costs for required or necessary repair or the
removal of mold, termites, dry rot, other damaging pests and infestations and hazardous waste or any other
hazardous materials claim. lf I do not own but am a tenant on the Property, I will fulfill my obligations under
my lease. I also agree that, if I acquire the fee title to the Property, my lease interest and the fee tiile will not
merge unless Lender agrees to the merger in writing.


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 7,       LENDER'S RIGHT TO PROTECT ITS RTGHTS IN THE PROPERW
          lf: (A) I do not keep my promises and agreements made in this Security lnstrument, or (B) someone,
 including me, begins a legal proceeding that may significantly affect Lender's rights in the Property (including
 but not limited to any manner of legal proceeding in bankruptcy, in probate, for condemnation or to enforce
 laws or regulations), then Lender may do and pay for whatever it deems reasonable or appropriate to protect
 the Lender's rights in the Property. Lender's actions may include, without limitation, appearing in court,
paying reasonable attorneys'fees, purchasing insurance required under Paragraph 5, above (such insurance
may cost more and provide less coverage than the insurance I might purchase), and entering on the
Property to make repairs. Lender must give me notice before Lender may take any of these actions.
Although Lender may take action under this Paragraph 7, Lender does not have to do so. Any action taken
by Lender under lhis Paragraph 7, will not release me from my obligations under this Security lnstrument.

          will pay to Lender any amounts which Lender advances under this Paragraph 7 with interest, at the
           I
interest rate in effect under the Secured Notes. I will pay those amounts to Lender when Lender sends me a
notice requesting that I do so. lnterest on each amount will begin to accrue on the date that the amount is
advanced by Lender, However, Lender and I may agree in writing to terms that are different from those in
this Paragraph 7. This Security lnstrument will protect Lender in case I do not keep this promise to pay those
amounts with interest.

8.      LENDER'S RIGHT TO INSPECT THE PROPERW
        Lender, and others authorized by Lender, may enter upon and inspect the Property. They must do so
in a reasonable manner and at reasonable times. Before or at the time an inspection is made, Lender must
give me notice stating a reasonable purpose for the inspection.

9.      AGREEMENTS ABOUT GOVERNMENTAL TAKTNG OF THE PROPERTY
        I assign to Lender all my rights: (A) to proceeds of all awards or claims for damages resulting from
condemnation, eminent domain or other governmental taking of all or any part of the Property; and (B) to
proceeds from a sale of all or any part of the Property that is made to avoid condemnation, eminent domain
or other governmental taking of the Property. All of those proceeds will be paid to Lender. lf I receive any
such proceeds, I will immediately deliver them to Lender.

         lf all of the Property is taken, the proceeds will be used to reduce the Sums Secured. lf any of the
proceeds remain afier the Sums Secured have been paid in full, the remaining proceeds will be paid to me.
Unless Lender and I agree othenruise in writing, if only a part of the Property is taken, Sums Secured will be
reduced only by the amount of proceeds multiplied by the following fraction: (A) the total amount of the Sums
Secured immediately before the taking, divided by (B) the fair market value of the Property immediately
before the taking. The remainder of the proceeds will be paid to me.

         lf I abandon the Property or if I do not answer, within 30 days, a notice from Lender stating that a
governmental authority has offered to make a payment or to settle a claim for damages, Lender has the
authority to collect the proceeds and settle the claim. Lender may then use the proceeds to reduce the Sums
Secured. The 30-day period will begin when the notice is given.

        lf any proceeds are used to reduce the amount of the outstanding principal of the Secured Notes,
that use will not delay the due date or change the amount of any of my regularly scheduled payments under
the Secured Notes and under Paragraphs 1 and 2 above. However, Lender and I may agree in writing to
delays or changes.




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10.       CONTINUATION OF BORROWER'S OBLIGATIONS AND OF LENDER'S RTGHTS
          (A)       Borrower's Obligations
                 Lender may allow a Person who takes over my rights and obligations subject to this Security
lnstrument to delay or to change the amount of the payments of principal and interest due under the Secured
Notes or underthis Security lnstrument. Even if Lender does this, however, that Person and lwill both still be
fully obligated under the Secured Notes and under this Security lnstrument.

                Lender may allow those delays or changes for a Person who takes over my rights and
obligations, even if Lender is requested not to do so. Lender will not be required to bring a lawsuit against
such a Person for not fulfilling obligations under the Secured Notes or under this Security lnstrument, even if
Lender is requested to do so.
          (B)   Lender's Rights
                Even if Lender does not exercise or enforce any of its rights under this Security lnstrument
or under the law, Lender will still have all of those rights and may exercise and enforce them in the future.
Even if Lender obtains insurance, pays taxes, or pays other claims, charges or liens against the Property,
Lender will have the right under Paragraph 28 below to demand that I make immediate payment in full of the
Sums Secured.

11.       OBLIGATIONS OF BORROWER, CO€IGNORS AND OF PERSONS TAKING OVER
          BORROWER'S RIGHTS OR OBLIGATIONS
          Except as provided below, if more than one Person signs this Security lnstrument as Borrower, each
of us is fully obligated to keep all of Bonower's promises and obligations contained in this          Security
lnstrument. Lender may enforce Lender's rights underthis Security lnstrument against each of us individually
or against all of us together. This means that any one of us may be required to pay all of the Sums Secured.

         Any Borrower who co-signs this Security lnstrument but does not execute the Note (a "co-signof'):
(a) is co-signing this Security lnstrument only to mortgage, grant and convey the co-signor's interest in the
Property undertheterms of this Security lnstrument; (b) is not personally obligated to paythe sums secured
by this Security lnstrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify,
forbear or make any accommodations with regard to the terms of this Security lnstrument or the Note without
the co-signor's consent.

         Any Person who takes over my rights or obligations under this Security lnstrument will have all of my
rights and will be obligated to keep all of my promises and agreements made in this Security lnstrument.
Similarly, any Person who takes over Lender's rights or obligations under this Security lnstrument will have
all of Lender's rights and will be obligated to keep all of Lender's agreements made in this          Security
lnstrument.


12.     MAXIMUM LOAN CHARGES
        lf the loan secured by this Security lnstrument is subject to a law which sets maximum loan charges,
and that law is finally interpreted so that the interest or other loan charges collected or to be collected in
connection with the loan exceed permitted limits, then: (A) any such loan charge shall be reduced by the
amount necessary to reduce the charge to the permitted limits and (B) any sums already collected from
Borrower which exceeded permitted limits will be refunded to Borrower. Lender may choose to make this
refund by reducingthe outstanding principal balance of the Secured Notes orby making a direct paymentto
Borrower. lf a refund reduces principal, the reduclion will be treated as a partial prepayment without any
prepayment charge underthe Secured Notes.




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 13.    LEGISLATION AFFECTING LENDER'S RIGHTS
        lf a change in applicable law would make any provision of the Secured Notes or this Security
lnstrument unenforceable, Lender may require that I make immediate payment in full of all Sums Secured by
this Security lnstrument.

 14.       NOTICES REQUIRED UNDER THIS SECURIry INSTRUMENT
           Any notice that must be given to me under this Security lnstrument will be given by delivering it or by
mailing it by flrst class mail unless applicable law requires use of another method. The notice will be
addressed to me at 8190 PEPPERTREE LN, CYPRESS, CA 90630-2071. A notice will be given to me at
an alternative address if I give Lender notice of my alternative address. I may give notice to Lender of my
alternative address in writing or by calling Lender's customer service telephone number provided on my
billing statement. I may designate only one mailing address at a time for notification purposes. Except as
permitted above for changes of address, any notice that must be given to Lender under this Security
lnstrument will be given by mailing it by first class mail to Lender's address stated in Section l.(C) above
entitled, "Definitions of Words Used ln This Deed of Trust," unless Lender gives me notice of a different
address. Any notice required by this Security lnstrument is given when it is mailed or when it is delivered
according to the requirements of this Paragraph 14 or of applicable law.


15.      GOVERNINGLAW;SEVERABILIry
         This Security lnstrument and the Secured Notes shal! be governed by and construed under
federal law and federal rules and regulations, including those for federally chartered savings
institutions ("Federal Law") and, to the extent Federal Law does not apply, by the law of the
jurisdiction in which the Property is located. ln the event that any of the terms or provisions of this
Security lnstrument or the Secured Notes are interpreted or construed by a court of competent jurisdiction to
be void, invalid or unenforceable, such decision shall affect only those provisions so construed or interpreted
and shall not affect the remaining provisions of this Security lnstrument or the Secured Notes.

16.        BORROWER'S COPY
           I acknowledge the receipt    of one conformed copy of the Secured Notes and of this           Security
lnstrument.

17.        LENDER'S RIGHTS         TO RENTAL PAYMENTS AND TO TAKE                     POSSESSTON        OF   THE
           PROPERTY
        lf Lender requires immediate payment in full or if I abandon the Property, then Lender, Persons
authorized by Lender, or a receiver appointed by a court at Lende/s request may: (A) collect the rental
payments, including overdue rental payments, directly from the tenants; (B) enter upon and take possession
of the Property; (C) manage the Property; and (D) sign, cancel and change rental agreements and leases. lf
Lender notifies the tenants that Lender has the right to collect rental payments directly from them under this
Paragraph 17, I agree that the tenants may make those rental payments to Lender without having to ask (i)
Lender whether I have failed to keep my promises and agreements under this Security lnstrument, or (ii) me
for my permission to do so.

           lf Lender acts to have the Property sold after a Breach of Duty as defined in Paragraph 28,            I

understand and agree that: (A) my right to occupy the Property ceases at the time the Property is sold; (B) I
shall have no right to occupy the Property after such sale without the written consent of the new owner of the
Property; and (C) my wrongful and unlawful possession of the Property may subject me to monetary
damages, including the loss of reasonable rent and the cost of eviction. All rental payments collected by




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 Lenderor by a receiver, otherthan the rent paid by me underthis Paragraph 17, will be used first to pay the
 costs of collecting rental payments and of managingthe Property. lf any pirt of the rental payments r'emains
 after those costs have been paid in full, the remaining part will be used to reduce the Sums Secured. The
 costs of managing the Property may include the receiver's fees, reasonable attorneys' fees and the costs of
 any necessary bonds.

 18.        INJURY TO PROPERW;ASSIGNMENT OF RIGHTS
        An assignment is a transfer of rights to another. I may have rights to bring legal action against
 persons, other than Lender, for injury or damage to the Property or in connection with the loan made io me
by Lender and which arose or will arise before or after the date of this Security lnstrument. These rights to
bring legal action may include but are not limited to an action for breach of contiact, fraud, concealme-nt of a
material fact, or for intentional or negligent acts. I assign these rights, and any and all proceeds arising from
these rights, as permitted by applicable law, to Lender. Lender may, at its option, enforce these rights in its
own name and may apply any proceeds resulting from this assignment to the Sum Secured and this Security
lnstrument after deducting any expenses, including attomeys' fees, incurred in enforcing these rights. At the
request of Lender, I will sign any further assignments or other documents that may be necessary to enforce
this assignment. I will notify Lender immediately if I believe I have the right to bring any such legal action
against any persons, and will notify Lender immediately         if I assert any claim or demand against       or
commence any legal action against any such person. lf I receive any proceeds from any persons besides
Lender in connection with any such claim, demand or legal action, lwill immediately delivei such proceeds to
Lender.

19.      CLERICAL ERRORS
         In the event Lender at any time discovers that this Security lnstrument, the Secured Notes or any
other document related to this loan, called collectively the "Loan Documents," contains an error which was
caused by a clerical mistake, calculation error, computer error, printing error or similar error, I agree, upon
notice from Lender, to execute such documentation as Lender deems necessary to correct any such eror(s)
and I also agree that I will not hold Lender responsible for any damage to me which may result from any
such error.

20.      LOST, STOLEN OR MUTILATED DOCUMENTS
         lf any of the Loan Documents are lost, stolen, mutilated or destroyed and Lender delivers to me an
indemnification in my favor, signed by Lender, then I will sign and deliver to Lender a Loan Document
identical in form and content which will have the effect of the original for all purposes.
21.     WAIVER OF STATUTE OF LIMITATTONS
        I will waive, within applicable law, the pleading of the statute of limitations as a defense to enforce
this Security lnstrument, including any obligations refened to in this Security lnstrument or Secured Notes,

22.       CAPTIONS
        The captions and headings at the beginning of each paragraph of this Security lnstrument are for
reference only and will not be used in the interpretation of any provision of this Security lnstrument.

23.       MODIFICATION
          This Security lnstrument may be modified or amended only by an agreement in writing signed by
Borrower and Lender.

24.       CONDOMINIUM, COOPERATIVE AND PLANNED UNIT DEVELOPMENT OBLIGATIONS
        lf the Property is a unit in a condominium, cooperative or planned unit development, each of which
shallbe called the "Project," and I have an interest in the common elements of the Project, then Lender and I
agree that:

          (A)     lf an owners association or other entity, called "Owners Association," holds title to Property
for the benefit or use of the Project and its members or shareholders, the Property also includes my interest
in the owners Association and the uses, proceeds and benefits of my interest.


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            (B)     The following are called the "Constituent Documents:" (i) The declaration or any other
  document which created the Project; (ii) By-laws of the Owners Association; (iii) Code of regulations for the
  Project; (iv) Articles of incorporation, trust instrument or equivalent document which creates the Owners
  Association; (v) The Project's covenants, conditions and restrictions; (vi) Other equivalent documents,

                   I shall perform all of my obligations under the Constituent Documents, including my
  obligation to pay, when due, all dues and assessments, lf I do not pay the dues and assessments when due,
  Lender may, at its option, pay them. I will pay to Lender any amounts which Lender advances under this
  Paragraph 24 according to the terms described in Paragraph 7 above.

           (C)    lf the Owners Association maintains, with an insurance company reasonably acceptable to
 Lender, a master or blanket policy on the Project which is satisfactory to Lender and which provides
 insurance coverage on the terms, in the amounts, for the periods, and against the hazards Lender requires,
 including fire and hazards included within the term "extended coverage," and Lender is provided with
 evidence of such master or blanket policy, then: (i) Lenderwaives the provision in Paragraph 2(B) above for
 the payment to Lender of the estimated yearly premium installments for hazard insurance on the Property;
 and (ii) hazard insurance coverage on the Property as required by Paragraph 5 above is deemed to be
 satisfied to the extent that the required coverage is provided by the Owners Association policy. I shall give
 Lender prompt notice of any lapse in the required hazard insurance coverage. I shall provide a copy of such
 master or blanket policy to Lender annually.

                 ln the event of a distribution of any hazard insurance proceeds, including without limitation
 any earthquake or special hazards insurance whether or not such coverage was required by Lender, in lieu
 of restoration or repair following a loss to the Property, whether to the unit or to common elements, any
 proceeds payable to me are hereby assigned and shall be paid to Lender for application to the Sums
 Secured by this Security lnstrument, with any excess paid to me. lf I receive any such proceeds, I will
 immediately deliver them to Lender or othenruise apply them as set forth above.

                  I shall take such actions as may be reasonable to insure that the Owners Association
  maintains a public liability insurance policy acceptable to Lender in form, amount and extent of coverage.


         (D)          I shall not, except after notice to Lender and with Lender's prior written consent,   either
partition or subdivide the Property or consent to: (i) the abandonment or termination of the Project, except for
abandonment or termination required by law in the case of substantial destruction by flre or other casualty or in
the case of condemnation, eminent domain or other governmentaltaking; (ii) any amendment to any provision
of Constituent Documents unless the provision is for the express benefit of Lender or of lenders generally; (iii)
termination of professional management and assumption of self-management of the Owners Association; or
(iv) any action which would have the effect of rendering the master or blanket hazard insurance policy and/or
the public liability insurance coverage maintained by the Owners Association unacceptable to Lender.


25.      FUTURE ADVANCES
         At Borrower's request, Lender, at its option (but before release of this Security lnstrument or the full
reconveyance of the Property described in the Security lnstrument) may lend future advances, with interesl, to
Borrower. Such future advances, with interest, will then be additional Sums Secured under this Security
lnstrument.




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26.       AGREEMENTS ABOUT LENDER'S RIGHTS IF THE PROPERTY IS SOLD OR TRANSFERRED

          Acceleration of Pavment of Sums Secured. Lender may, at its option, require immediate payment
in full of all Sums Secured by this Security lnstrument if all or any part of the Property, or if any right in the
Property, is sold or transferred without Lender's prior written permission. Lender also may, at its option,
require immediate payment in full if Borrower is not a natural Person and a beneficial interest in Borrower is
sold or transferred without Lender's prior written permission. However, Lender shall not require immediate
payment in fullif this is prohibited by FederalLaw in effect on the date of the Security lnstrument.


          lf Lender exercises the option to require immediate payment in full, Lender will give me notice of
acceleration. lf I fail to pay all Sums Secured by this Security lnstrument immediately, Lender may then or
thereafter invoke any remedies permitted by this Security lnstrument without further notice to or demand on
me.


        Exception to Acceleration of Pavment of Sums Secured. lf the sale or transfer of all or any part
of the Property, or of a beneficial interest in Borrower, if Borrower is not a natural Person, is the first one to
occur after the date of this Security lnstrument, Lender will not exercise the option to accelerate payment in
full of all Sums Secured and the loan may be assumed if:

           (D       Lender receives     a   completed written application from transferee      to   evaluate the
creditworthiness of transferee as if a new loan were being made to the transferee by Lender;

           (iD      Lender approves the creditworthiness of the transferee in writing;

          (iiD      transferee makes a cash downpayment sufficient to meel Lender's then current undenrvriting
standards;

          (iv) an assumption fee, in an amount to be determined by Lender (but not to exceed 1% of the
then outstanding balance of Principal and interest under the Secured Notes at the time of sale or transfer of
the Property or of the interest in the Borrower) is paid to Lender; and

          (v) the transferee executes an assumption agreement which is satisfactory to Lender. Such
assumption agreement may provide, if required by Lender, that the transferee open a deposit account with
Lender or with a bank or other depository institution approved by Lender, to facilitate direct payments if direct
paymenls are required in the Note.


         The loan may be assumed under its then existing terms and conditions with one exception; the
Lifetime Rate Cap may be changed. The Lifetime Rate Cap shall be changed to an interest rate which is the
sum of the interest rate in effect on the date of a sale or transfer of the Property or beneficial interest in
Borrower plus 5 percentage points, if that sum exceeds the Lifetime Rate Cap stated in the Secured Notes.



27.     SUBSTITUTION OF TRUSTEE
        I agree that Lender may at any time appoint a successor trustee and that Person shall become the
Trustee under this Security lnstrument as if originally named as Trustee.




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 28.       RIGHTS OF THE LENDER IF THERE IS A BREACH OF DUTY
          It will be called a "Breach of Duty" if (i) I do not pay the full amount of each regularly scheduled
 payment on the date it is due; or (ii) I fail to perform any of my promises or agreements under the Note or
 this Security lnstrument; or (iii) any statement made in my application for this loan was materially false or
 misleading or if any statement in my application for this loan was materially false or misleading by reason of
 my omission of certain facts; or (iv) I have made any other statement to Lender in connection with this loan
 that is materially false or misleading. lf there is a Breach of Duty by me, Lender may demand an immediate
 payment of all sums secured.

         lf there is a Breach of Duty by me, Lender may exercise the power of sale, take action to have the
 Property sold under applicable law, and invoke such other remedies as may be permitted under any
 applicable law.

        Lender does not have to give me notice of a Breach of Duty. lf Lender does not make a demand for
full payment of the Sums Secured upon a Breach of Duty, Lender may make a demand for full payment of
the Sums Secured upon any other Breach of Duty.


        lf there is a Breach of Duty, Lender may also take action to have a receiver appointed to collect rents
from any tenants on the Property and to manage the Property. The action to appoint a receiver may be taken
without prior notice to me and regardless of the value of the property.


         The sale of the Property may be postponed by or at the direction of Lender. lf the Property is sold, I
agree that it may be sold in one parcel. I also agree that Lender may add to the amount that I owe to Lender
all legalfees, costs, allowances, and disbursements incurred as a result of the action to sellthe Property.


       Lender will apply the proceeds from the sale of the Property in the following order: (A) to all fees,
expenses and costs incuned in connection with the sale, including but not limited to trustees' and attorneys'
fees, if any; (B) to all Sums Secured by this Security lnstrument; and (C) any excess to the person or
Persons legally entitled to it.

29.       RECONVEYANCE
          Upon payment of all Sums Secured by this Security lnstrument, Lender shall request Trustee to
reconvey the Property and shall surrender this Security lnstrument and all Secured Notes to Truslee.
Trustee shall reconvey the Property without warranty to Borrower. Lender may charge Borrower a
reasonable fee for reconveying the Property, but only if the fee is paid to a third party (including the Trustee)
for services rendered and the charging of the fee is permitted, whether expressly or by lack of express
prohibition, under applicable law. lf the fee charged does not exceed any maximum fee set by applicable law,
the fee is conclusively presumed to be reasonable.


30.    STATEMENT OF OBLIGATION
       Lender may collect a fee of $60.00, or such greater maximum amount as may from time to time be
allowed by law, for furnishing any statement of obligation with respect to this Security lnstrument or the
Secured Notes.




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31.        ( x ) QUrcK QUALTFYTNG LOAN PROGRAM
           I have qualifled for this loan by making statements of fact which were relied upon by Lender         to
approve the loan rapidly. This loan is called a "Quick Qualifoing Loan." I have stated and I confirm that; (A) I
do not have any other Quick Qualifying Loans with Lender; (B) I have agreed to not further encumber the
Property and do not intend to further encumber the Property for at least six months after the date of the
Secured Notes and this Security lnstrument; and (C) lf I am purchasing the Property, all of the terms of the
purchase agreement submitted to Lender are true and the entire down payment is cash from my own funds.


        lf any of the statements of fact that I have made are materially false or misleading, I will be in default
under the Secured Notes and this Security lnstrument. lf I am in such default, Lender may, at its option,
increase the interest rate and margin subject to the Lifetime Rate Cap stated in the Secured Notes.


32.       (   x)     owNERoccuPANcY
          Lender has relied upon statements of fact which I have made to qualify for this loan. I have stated
and confirm that: (A) the Property is my personal and primary residence; (B) I will occupy the Property not
later than 30 days after this Security lnstrument is recorded; and (C) I will use the Property as my residence
for at least 12 months from the date this Security lnstrument is recorded.


        lf any of the statements of fact that I have made are materially false or misleading, I will be in default
under the Secured Notes and this Security lnstrument. lf I am in such default, Lender may, at its option,
increase the interest rate and margin, subject to the Lifetime Rate Cap stated in the Secured Notes.



          (X)        VALUE INDICATES THAT THE PARAGRAPH APPLIES.




                 THIS SPACE INTENTIONALLY LEFT BLANK;SIGNATURE PAGE FOLLOWS.




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 BY SIGNING BELOW, I accept and agree to the promises and agreements contained in this Security
 lnstrument and in any ride(s) signed by me and recorded in proper official records.

                    (PLEASE SrGN YOUR NAME EXACTLY AS tT APPEARS BELOW)

                                            BORROWER(S):




 DEE    TAIVIARAT




                       ATTACH INDIVIDUAL NOTARY ACKNOWLEDGEMENT




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CALIFORNIA ALL.PURPOSE AGKNOWLEDGMENT

State of California

County of                                                                   )
On             0o OY                     before me,                                                                              fnW,
                   Date

personally appeared                                           A@T W

                                                                   who proved to me on the basis of satisfqctory evidence to
                                                                   be the person(s) whose name(s) isp@uOscribed to the
                                                                   within instrument and acknowletl-oed to me that
                                                                   ne/sheqlf,eylxecutedthesamei,f -nghe,(@uthorized
                                                                   capacitffi, and that by his/he6efigilTure(s) on the
                                                                   instrument the person(s), or the\erftity upon behalf of
                           k rrE                                   which the person(s) acted, executed the instrument.


                   %#p
                   3*{lili"+m
                                                                   I certify under PENALTY OF PERJURY under the laws
                                                                   of the State of California that the foregoing paragraph is
                                                                   true and correct.

                                                                   WITNESS

                                                                   Signature
                   Place Notary Seal Above

                                                          OPTIONAL
      Though the information below is not required by IaW it may prove valuable to persons relying on the document
               and could prevent fraudulent removal and reaftachment of this form to another document.

Description of Attached Document
Title or Type of Document:

Document Date:                                                                           Number of Pages:

Signe(s) Other Than Named Above:

Capacity(ies) Claimed by Signer(s)

Signer's Name:                                                          Signer's Name:
n    lndividual                                                         tr lndividual
tr Corporate Officer - Title(s):                                        tr Corporate Officer Title(s):
                                                                                            -
I Partner-f Limited trGeneral                                           n Partner-I Limited n General
tr Attorney in Fact                                                     I   Attorney in Fact
E   Trustee                                                             fl Trustee
n Guardian or Conservator                                               tr Guardian or Conservator
n Other:                                                                tr Other:

Signer ls Representing:                                                 Signer ls Representing:




O2007National NotaryAssociation.9350DeSotoAve.,PO.Box2402.Chatsworth,CA91313-2402.M.NalionalNotaryorg   ltem#5907 Reorder:CallTollFreel-800-876-6827
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                             GOVERNMENT CODE 27361.I

   I CERTIF'Y UNDER PENALTY OF PERJURY THAT THE NOTARY SEAL ON
   THE DOCUMENT TO WHICH THIS STATEMENT IS ATTACHED READS
   FOLLOWS:

  NAME OF NOTARY:                          KAREN ALBRO

  DATE COMMISSION           EXPIRES:       SEP 4,2009

  COUNTY WHERE BOND IS FILED: Orange

  COMMISSION NUMBER:                     REDACTED


  MANUFACTURERS/VENDOR              NUMBER:       NNA1

  COUNTY OF PRINCIPAL PLACE OF BUSINESS: ORANGE

   PHONE NO:                               (714 ) 28e-3300



  I CERTIF"T UNDER PENALTY OF PERJURY THAT THE ILLEGIBLE
  PORTION OF THE DOCUMENT TO WHICH THIS STATEMENT IS
  ATTACHED READS AS FOLLOWS:

                            r
                ^)( TUSTIN, CALIFORNIA
  PLACE OF EXECUTION:

  DATED: b.             (
                            -{

  TICOR TITLE CO                 OF CALIFORNIA
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                                     LEGAL DESCRIPTION

                                         EXHIBIT "A"


THE I.AND REFERRED TO HEREIN BELOW IS SITUATED IN THE COUNTY OF ORANGE, STATE OF CALIFORNIA,
AND IS DESCRIBED AS FOLLOWS:

LOT 7 OF TRACT NO. 15754, IN THE CITY OF CYPRESS, COUNTY OF ORANGE, IN THE STATE OF CALIFORNIA,
AS PER MAP RECORDED IN BOOK 791, PAGE 24-30 OF MAPS, OF THE RECORDS OF THE COUNTY RECORDER
OF SAID COUNTY.

EXCEPTING AND RESERVING THEREFROM ALL MINERALS AND MINERAL RIGHTS, INTERESTS AND ROYALTIES,
INCLUDING WITHOUT LIMMNG THE GENERALITY THEREOF, OIL, GAS AND OTHER HYDROCARBON
SUBSTANCES, AS WELL AS METALLIC OR OTHER SOLID MINEMLS, IN AND UNDER SAID PROPERTY;
 HOWEVER, GRANTOR OR ITS SUCCESSORS AND ASSIGNS, SHALL NOT HAVE THE RIGHT FOR ANY PURPOSE
WHATSOEVER TO ENTER UPON, INTO OR THROUGH THE SURFACE OF SAID PROPERTY IN CONNECTION
THEREWITH, AS RESERVED BY SOUTHERN PACIFIC TRANSPORTATION COMPANY, A DEIAWARE
CORPORATION, IN A GRANT DEED RECORDED AUGUST 2T, L990, AS INSTRUMENT NO. 90.444037 OF OFFICIAL
RECORDS.

ALSO EXCEPTING AND RESERVING THEREFROM, GMNTOR HEREBY EXPRESSLY RESERVES UNTO ITSELF ANY
REMAINING MINERALS, OIL, GAS, PETROLEUM, OTHER HYDROCARBON SUBSTANCES AND ALL GEOTHERMAL
RESOURCES THAT MAY NOW OR HEREAFTER BE FOUND, LOCATED, CONTAINED, DEVELOPED OR TAKEN ON,
IN, UNDER OR FROM SAID I.AND, OR ANY PART THEREOF, WITHOUT,
 HOWEVER, ANY RIGHT TO SURFACE ENTRY OR RIGHT OF ENTRY TO THE SUBSURFACE THEREOF, TO A
DEPTH OF 5OO FEET BENEATH THE SURFACE OF SAID PROPERTY FOR THE DEVELOPMENT, REMOVAL OR
OTHER EXPLOITATION OF SAID RESOURCES OR SUBSTANCES.
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